           Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 1 of 9




 1 David V. Roth (State Bar No. 194648)
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 2 Chandra Carr (State Bar No. 315259)
    czc@manningllp.com
 3 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant,
 7 TARGET CORPORATION

 8                                   UNITED STATES DISTRICT COURT
 9              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11 BRYON JACKSON,                                          Case No. 3:21-cv-08458-LB

12                      Plaintiff,                         (State Court Case No. RG21110499)

13             v.                                          DECLARATION OF DAVID V. ROTH IN
                                                           SUPPORT OF DEFENDANT TARGET
14 TARGET CORPORATION,                                     CORPORATION'S MOTION TO
                                                           DISMISS OR STRIKE PORTIONS OF
15                      Defendant.                         PLAINTIFF'S COMPLAINT
16                                                         Judge:            Hon. Laurel Beeler
                                                           Hearing Date:     January 20, 2022
17                                                         Time:             9:30 a.m.
                                                           Crtrm:            B
18
19            I, David V. Roth, declare as follows:

20            1.        I am an attorney duly admitted to practice before this Court. I am an attorney with

21 Manning & Kass, Ellrod, Ramirez, Trester LLP, attorneys of record for Defendant, TARGET

22 CORPORATION. I have personal knowledge of the facts set forth herein, and if called as a witness,

23 I could and would competently testify thereto. I make this declaration in support of Defendant Target

24 Corporation's Motion to Dismiss or Strike Portions of Plaintiff’s Complaint.

25            2.        Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s Complaint.

26            I declare under penalty of perjury under the laws of the United States of America that the

27 foregoing is true and correct.

28 / / /
     4874-7883-9814.1                                              Case No. 3:21-cv-08458-LB
        DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET CORPORATION'S
              MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S COMPLAINT
          Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 2 of 9




 1            Executed on this 14th day of December, 2021, at San Francisco, California.

 2

 3                                                     /s/ David V. Roth
                                                       David V. Roth
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     4874-7883-9814.1                        2                     Case No. 3:21-cv-08458-LB
        DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET CORPORATION'S
              MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S COMPLAINT
Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 3 of 9




      EXHIBIT A
                                                                          ;
                             Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 4 of 9


     ATTORNEY OR PARTY i           i      T ATTORNEY (Nama, Stoto Bar numbar, and address):
                                                                                                                                                                AE                  6078

   ~ Owen                            Ladhson
                                                                                                                                                   FOR COURT USE ONLY



              BY           aro                   ilage Puls doy \ Monten, cA Aho)
                TELEPHONE NO: (20 ) ~16~ HAL                                         FAX NO, (Optional
     E-MAIL ADDRESS (Optional):
        ATTORNEY FOR (Namo);                                                                                                                yg          .              -
   SUPERIOR COURT OF CALIFORNIA,                               GOUNTY oF             Alamd,                                           so    I
             STREET ADDRESS:             (ER         Foll        on             5h                                                  ALALI=RA          a              ui uTY

            arvmozncone. Oakland | CA Thb1d                                                                                                 AUG9 4 2021




                                                                                                                                                                ~>
                BRANCH    NAME:                              J                                                                                                                 i.


                  PLAINTIFF: Biyon Aahson                                                                                   aircon                                             is
              DEFENDANT: Aor                       o         % Muda,                            CA       A560)                                              ;          Lda omy 7

   [J poes 1 TO
    COMPLAINT—Personal Injury, Prgperty Da                                              age, Wrongful
           [J AMENDED (Number):                                       0
   Type (check all that apply):                                                amage)         {or av
   [_] MOTOR VEHICLE                                        OTHER (specify):
                    Property Damage                     [J] Wrongful Death
                    Personal Injury                     [_] Other Damages (specify):
   Jurisdiction (check all that apply):
                                                                                                                                    CASE NUMBER:
   [1] ACTION IS A LIMITED CIVIL CASE
       Amount demanded     [__| does not exceed $10,000
                           [] exceeds $10,000, but does not exceed $25,000
   [SZ ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                                          Re) 9 1                      1 04 p :
   [__] ACTION IS RECLASSIFIED by this amended complaint
          [1       from limited to unlimited
          [1       from unlimited to limited                                  py,
 1. Plaintiff (name or names): Bryon Pat awh Son
    alleges causes of action againsTdefendant (name or names): Auraok _ Al aud                                                                  CA    Gu50)
2, This pleading, including attachments and exhibits, consists of the following number
                                                                                       of pages:
3. Each plaintiff named above is a competent adult                                                                   3               Pd     ;
     a. [_] except plaintiff (name):
            (1) B=] a corporation qualified to do business in California
                  (2) [__]         an unincorporated entity (describe):
                                                                                                                    on               Aathson                            vs
                  (3) [_] a public entity (describe):
                  (4) [J aminor [J an adult
                                                                                                                     low                   Alamed
                                                                                                                                           S      a ),A CA
                                   (@)    [_]     forwhom a guardian or conservator of the estate 7                        Lrdian     Shas           Poy                      Ay CA
                      (b) [_] other (specify):
            (6) [_] other (specify):
     b. [_] except plaintiff (name):
            (1) [C_] a corporation qualified to do business in California
                  2)   [Jan              unincorporated entity (describe):
                  (3) [CJ a public entity (describe);
                  (4) [J aminor [_] an adult
                                   (a) [J        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                          (b) [_] other (specify):
                  (5) [_] other (specify):

   CJ       information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                                    aout os
 Form Approved for Optional Use                                       COMPLAINT—Personal                  Injury,   Property                                    Code of SH    run
   Judicial Council
                  of California                                                                                                                                                       Sas
PLO-PLODI (Rov. Sanuary 1, 2007)                                                     Damage, Wrongful Death
                                 Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 5 of 9


                                                                                                                                                   PLD-PI-001
       SHORT TITLE:                                              .                                                 CASE NUMBER.


                                                        Z.
  4. [2X] Plaintiff (name): bun                      Aadsnd
                   is doing business            the fictitious name (specify):

                  and has complied with the fictitious business name laws,
  5.    Each defendant named above is a natural person
       a. []           except defendant (name):                                       ¢. [_] except defendant (name):
                       (1) [_]      a business organization, form unknown                       (1)   [J]   abusiness organization, form unknown
                       (2) [>< a corporation                                                    2)       a corporation
                       (3) [__] an unincorporated entity (describe):                            (3) [C_] an unincorporated entity (describe):

                       (4) [_] a public entity (describe):                                      (4) [1      a public entity (describe):

                       (5) [J other (specify):                                                  (5) [_] other (specify):



       b. [_] except defendant (name):                                                d. [_] except defendant (name):
              (1) [J a business organization, form unknown                                   (1) [J] a business organization, form unknown
                       (2)          a corporation                                               (2)         a corporation
                       (3) [CJ an unincorporated entity (describe):                             (3)         an unincorporated entity (describe):

                       (4) [_] a public entity (describe):                                      (4) []      a public entity (describe):

                       (5) [_] other (specify):                                                 (5) [_] other (specify):


        [_] Information about additional defendants who are not natural persons is contained in Attachment 5.
          The true names of defendants sued as Does are unkfiown tg                plaintiff.
          a. [>&] Doe defendants (specify Doe numbers):                                                     were the agents or employees of other
                             named defendants and acted within the scop          that agency or employment,
         b.      [_]   Doe defendants (specify Doe numbers):                                 are persons whose capacities are unknown to
                       plaintiff.
        [1         Defendants who are joined under Code of Civil Procedure section 382 are (names):




         This court is the proper court because
         a.      [_] atleast one defendant now resides in its jurisdictional area.
               . [1] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area,
       ao oC




                 [1 injury to person or damage to personal properly occurred in its jurisdictional area.
               . [1      other (specify):



        [1] Plaintiff is required to comply with a claims statute, and
        a. BZ] has complied with applicable claims statutes, or
        b. [J is excused from complying because (specify):




PLD-PIO01 (Rev. January 1, 2007)                          COMPLAINT—Personal Injury, Property                                                         Page 2of2
                                                                Damage, Wrongful Death
                                    Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 6 of 9


                                                                                                                                                         PLD-PI-001
eo




            SHORT TITLE:                                         :                                                       CASE NUMBER:



        10.         The following causes of action are attached and the statements above apply to each (each
                                                                                                             complaint must have one or more
                    causes of action attached):
                    a. [_] Motor Vehicle
                    b. [J General Negligence
                      . [1 Intentional Tort
               QO




                      . [J Products Liability
                      . [1 Premises Liability
               oO




                                                                                                                           STA hd
                     . {= Other (specify):
              -_




                                                                                                                       oof]  ih ots oa                                          hawt
       11.     Plaintiff has suffered
               a. [| wage loss
                                                                 Shon 48: Dea,
                                                                          A
                                                                                 in
                                                                                               y
                                                                                                   0        Loponsaliry chap                            and punt
               b. [_] loss of use of property                               of                 i                                                                 00
               ¢. [[_] hospital and medical expenses                      (N—         Pun              ad    9    MBG          —        A by | 000, ODD
               d.                        Id
                                                                                                                                                                  4
               e. =         nd                                            0)          1 psg                 Mp                bhe        45,000         | dO          0
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               f.           |       f         earni
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                                                                          ih Yarotumil Dien                                         Tr                  4 50 000-0
       12.    [_]        The damages claimed for wrongful death and the relationships of plaintiff to the deceased are                     $9,009, op                          27
              a. [_] listed in Attachment 12.
              b. [] as follows:




      13.     The relief sought in this complaint is within the jurisdiction of this court.




      14.     Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
              a. (1) BX] compensatory damages                        1D, 509,000      0
              (2)         [=<] punitive damages                      #19, 900 000:        ))
                      The amount of damages is (in cases for personal injury or wrongful death, you must check (1):
                      (1)      according to proof                                               ;
                      (2)      in the amount of: $
      15. [_] The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




     Date:

                          glad ana |
                                ]       (TYPE OR PRINT NAME)
                                                                                                   »             Fa
                                                                                                                 (SIGNATURE OF PLAINTIFF OR ATTORNEY)

     PLO-PI-OD1 [Rav. Ssnusty 1, 2007}                           COMPLAINT—Personal Injury, Property                                                           Page of 3
                                                                       Damage, Wrongful Death
                                  Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 7 of 9


                                             A              £ x,                                                                                          MC-031
  __           PLAINTIFF/PETITIONER:        by            Zahgon                                                   CASE NUMBER:
        DEFENDANT/RESPONDENT:                    ari       - 9100         Yall            MN omgd a, CA
                                                  ~~                                ?                     J
                                                                         DECLARATION
                                   (Thiss form must be attachedto    another form or court paper before
                                                                                                     it can befiledin court.)




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   (4) ~ Ender            Ape A) 9 fata A5, 00 00
                                                                                                    and correc=.t.- .
    heciar    nalty of perjury under the laws of the State of California that the foregoing is true
       Date:




                         bua Aso                                                                              Ll           OF DECLARANT)


                                                                                   OC      Attorney for       [J   plaintiff   [J   Petitioner   Pi 5   Defendant
                                                                                   [CJ]    Respondent         []   Other (Specify):


 Fd Co Een                                                    ATTACHED DECLARATION                                                                      Page   of 1
         31 [Rev. July 1, 2005]
          Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 8 of 9




 1                                        PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.

 5     On December 14, 2021, I served true copies of the following document(s) described as
   DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET
 6 CORPORATION'S MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S
   COMPLAINT on the interested parties in this action as follows:
 7
                            SEE ATTACHED SERVICE LIST
 8

 9
          BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
10 document(s) to be sent from e-mail address dln@manningllp.com to the persons at the e-mail
   addresses listed in the Service List. I did not receive, within a reasonable time after the
11 transmission, any electronic message or other indication that the transmission was unsuccessful.

12         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
13 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
14 court rules.

15        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
16 Court at whose direction the service was made.

17            Executed on December 14, 2021, at San Francisco, California.

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                                                      Diana Norton
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     4874-7883-9814.1                        3                     Case No. 3:21-cv-08458-LB
        DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET CORPORATION'S
              MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S COMPLAINT
          Case 3:21-cv-08458-LB Document 9-1 Filed 12/14/21 Page 9 of 9




 1                                       SERVICE LIST
                              Jackson v. Target - Alameda CA 94501
 2                                    Case No. RG21110499
 3 Bryon Jackson                                Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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     4874-7883-9814.1                        4                     Case No. 3:21-cv-08458-LB
        DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET CORPORATION'S
              MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S COMPLAINT
